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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

 CATHERINE DARLING, et al.,

       Plaintiffs,

 v.                                              Case No. 3:21cv1787-TKW-HTC

 SACRED HEART HEALTH
 SYSTEM, INC., et al.,

      Defendants.
__________________________________/

             ORDER DENYING PRELIMINARY INJUNCTION

      This case came before the Court on November 10, 2021, for a hearing on

Plaintiffs’ emergency motion for a temporary restraining order and a preliminary

injunction. The oral findings made by the Court at the hearing are incorporated by

reference into this Order, and based on those findings, it is

      ORDERED that Plaintiffs’ emergency motion for a temporary restraining

order and preliminary injunction (Doc. 4) is DENIED because Plaintiffs failed to

show that they have a substantial likelihood of success on the merits of any of their

claims or that they will suffer irreparable harm if an injunction is not granted.

      DONE and ORDERED this 10th day of November, 2021.

                                         T. Kent Wetherell, II
                                        T. KENT WETHERELL, II
                                        UNITED STATES DISTRICT JUDGE
